Case 4:18-cv-00785-ALM Document 21-3 Filed 03/04/19 Page 1 of 2 PageID #: 122




                  IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF TEXAS
                           SHERMAN DIVISION

HADRIAN MUMPUKU                      §
                                     §
v.                                   §   Case No. 4:18-cv-00785-ALM
                                     §
CITY OF PLANO,                       §
PLANO POLICE DEPARTMENT,             §
BRAD NEAL, JOHN DOE, and             §
MEDICAL CENTER OF PLANO              §


        DEFENDANTS CITY OF PLANO AND BRAD NEAL’S
      ANSWER, AFFIRMATIVE DEFENSES AND JURY DEMAND




                            EXHIBIT NO. 2

                           VIDEOS ON DISCS

     DELIVERED TO COURT AND PLAINTIFF’S COUNSEL
Case 4:18-cv-00785-ALM Document 21-3 Filed 03/04/19 Page 2 of 2 PageID #: 123
